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                                                                                                                  UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                        OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available
                                                                              from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
                                                                              bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you
                                                                              that the Attorney General may examine all information you supply in connection with a bankruptcy case. You
                                                                              are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                              advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
                                                                              employees cannot give you legal advice.

                                                                     1. Services Available from Credit Counseling Agencies
                                                                     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
                                                                     relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
                                                                     provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy
                                                                     filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet)
                                                                     and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy
                                                                     administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling
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                                                                     agencies.
                                                                     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
                                                                     instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
                                                                     instructional courses.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
                                                                     Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                     1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                                                                     whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
                                                                     permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
                                                                     size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
                                                                     Code. It is up to the court to decide whether the case should be dismissed.
                                                                     2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
                                                                     take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                     3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
                                                                     it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                     4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
                                                                     be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
                                                                     settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel,
                                                                     or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
                                                                     fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
                                                                     discharged.

                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
                                                                     administrative fee: Total fee $274)
                                                                     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in instalments
                                                                     over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
                                                                     Bankruptcy Code.
                                                                     2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
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                                                                     using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending
                                                                     upon your income and other factors. The court must approve your plan before it can take effect.
                                                                     3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                     secured obligations.

                                                                     Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
                                                                     quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
                                                                     earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
                                                                     arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
                                                                     A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
                                                                     orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
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                                                                     by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
                                                                     of the United States Trustee, the Office of the United States Attorney, and other components and employees of the Department
                                                                     of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                     creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                     information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                     local rules of the court.

                                                                                                         Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this notice
                                                                     required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                      Social Security number (If the bankruptcy
                                                                     Address:                                                                                             petition preparer is not an individual, state
                                                                                                                                                                          the Social Security number of the officer,
                                                                                                                                                                          principal, responsible person, or partner of
                                                                                                                                                                          the bankruptcy petition preparer.)
                                                                                                                                                                          (Required by 11 U.S.C. § 110.)
                                                                     X
                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                                Certificate of the Debtor
                                                                     I (We), the debtor(s), affirm that I (we) have received and read this notice.



                                                                     Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                    X /s/ Thomas Hugh Sale, Sr.                                7/13/2006
                                                                     Printed Name(s) of Debtor(s)                                                   Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                          X /s/ Darlene Fay Sale                                     7/13/2006
                                                                                                                                                    Signature of Joint Debtor (if any)                            Date



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                                                                     Form B22C (Chapter 13) (10/05)                                                 According to the calculations required by this statement:
                                                                                                                                                         The applicable commitment period is 3 years.
                                                                     In re: Sale, Thomas Hugh Sr. & Sale, Darlene Fay
                                                                                                         Debtor(s)                                    ü  The applicable commitment period is 5 years.
                                                                     Case Number:
                                                                                                         (If known)
                                                                                                                                                      ü  Disposable income is determined under § 1325(b)(3).
                                                                                                                                                         Disposable income is not determined under § 1325(b)(3).
                                                                                                                                                    (Check the box as directed in Lines 17 and 23 of this statement.)


                                                                                               STATEMENT OF CURRENT MONTHLY INCOME
                                                                                     AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                                                                   FOR USE IN CHAPTER 13

                                                                     In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing jointly. Joint debtors may
                                                                     complete one statement only.


                                                                                                                             Part I. REPORT OF INCOME
                                                                              Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                              a.       Unmarried. Complete only Column A ("Debtor’s Income") for Lines 2-10.

                                                                        1
                                                                              b.   ü   Married. Complete both Column A ("Debtor’s Income") and Column B ("Spouse’s Income") for Lines 2-10.
                                                                              All figures must reflect average monthly income for the six calendar months prior to filing the bankruptcy           Column A         Column B
                                                                              case, ending on the last day of the month before the filing. If you received different amounts of income             Debtor’s         Spouse’s
                                                                              during these six months, you must total the amounts received during the six months, divide this total by             Income            Income
                                                                              six, and enter the result on the appropriate line.
                                                                        2     Gross wages, salary, tips, bonuses, overtime, commissions.                                                      $      1,924.37 $         4,196.22
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                                                                              Income from the operation of a business, profession, or farm. Subtract Line b from Line a and enter
                                                                              the difference on Line 3. Do not enter a number less than zero. Do not include any part of the
                                                                              business expenses entered on Line b as a deduction if Part IV.
                                                                        3       a.     Gross receipts                                           $
                                                                                b.     Ordinary and necessary business expenses                 $
                                                                                c.     Business income                                          Subtract Line b from Line a
                                                                                                                                                                                              $                 $
                                                                              Rent and other real property income. Subtract Line b from Line a and enter the difference on Line 4.
                                                                              Do not enter a number less than zero. Do not include any part of the operating expenses entered on
                                                                              Line b as a deduction in Part IV.
                                                                        4       a.     Gross receipts                                           $
                                                                                b.     Ordinary and necessary operating expenses                $
                                                                                c.     Rental income                                            Subtract Line b from Line a
                                                                                                                                                                                              $                 $
                                                                        5     Interest, dividends, and royalties.                                                                             $                 $
                                                                        6     Pension and retirement income.                                                                                  $                 $
                                                                              Regular contributions to the household expenses of the debtor or the debtor’s dependents,
                                                                        7     including child or spousal support. Do not include contributions from the debtor’s spouse if Column B
                                                                              is completed.                                                                                                   $                 $
                                                                              Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8. However, if
                                                                              you contend that unemployment compensation received by you or your spouse was a benefit under the
                                                                              Social Security Act, do not list the amount of such compensation in Column A or B, but instead state the
                                                                        8     amount in the space below:
                                                                                Unemployment compensation claimed to
                                                                                be a benefit under the Social Security Act    Debtor $                        Spouse $
                                                                                                                                                                                              $                 $
                                                                              Income from all other sources. If necessary, list additional sources on a separate page. Do not
                                                                              include any benefits received under the Social Security Act or payments received as a victim of a war
                                                                              crime, crime against humanity, or as a victim of international or domestic terrorism. Specify source and
                                                                              amount.
                                                                        9
                                                                                a.                                                                                       $
                                                                                b.                                                                                       $
                                                                                Total and enter on Line 9                                                                                     $                 $

                                                                       10
                                                                              Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2 through 9 in
                                                                              Column B. Enter the total(s).                                                                                   $      1,924.37 $         4,196.22

                                                                       11
                                                                              Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and enter the
                                                                              total. If Column B has not been completed, enter the amount from Line 10, Column A.                              $                        6,120.59
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                                                                                                   Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
                                                                     12    Enter the amount from Line 11.                                                                                                    $    6,120.59
                                                                           Marital Adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that calculation of
                                                                     13    the commitment period under § 1325(b)(4) does not require inclusion of the income of your spouse, enter the amount of
                                                                           the income listed in Line 10, Column B that was NOT regularly contributed to the household expenses of you or your
                                                                           dependents. Otherwise, enter zero.                                                                                                $         0.00
                                                                     14    Subtract Line 13 from Line 12 and enter the result.                                                                               $    6,120.59

                                                                     15
                                                                           Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by the number 12 and
                                                                           enter the result.                                                                                                                 $   73,447.08
                                                                           Applicable median family income. Enter the median family income for the applicable state and household size.
                                                                     16    (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                           a. Enter debtor’s state of residence: Maryland                                b. Enter debtor’s household size:    2              $   60,541.00
                                                                           Application of § 1325(b)(4). Check the applicable box and proceed as directed.
                                                                              The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is 3 years”
                                                                     17          at the top of page 1 of this statement, and complete Part VII of this statement. Do not complete Parts III, IV, V, or VI.
                                                                           ü years”
                                                                             The amount on Line 15 is not less than the amount on Line 16. Check the box for “The applicable commitment period is 5
                                                                                    at the top of page 1 of this statement and continue with Part III of this statement.

                                                                                    Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                     18    Enter the amount from Line 11.                                                                                                    $    6,120.59
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                                                                           Marital Adjustment. If you are married, but are not filing jointly with your spouse, enter the amount of the income listed
                                                                     19    in Line 10, Column B that was NOT regularly contributed to the household expenses of you or your dependents. If you are
                                                                           unmarried or married filing jointly with your spouse, enter zero.                                                                 $         0.00
                                                                     20    Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                                      $    6,120.59

                                                                     21
                                                                           Annualized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by the number 12 and
                                                                           enter the result.                                                                                                                 $   73,447.08
                                                                     22    Applicable median family income. Enter the amount from Line 16.                                                                   $   60,541.00
                                                                           Application of § 1325(b)(3). Check the applicable box and proceed as directed.

                                                                     23
                                                                           ü 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                              The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined under §

                                                                                 The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not determined
                                                                                 under § 1325(b)(3)” at the top of page 1 of this statement and complete Part VII of this statement. Do not complete Parts IV, V, or VI.

                                                                                           Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
                                                                                            Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                           National Standards: food, clothing, household supplies, personal care, and miscellaneous. Enter
                                                                           “Total” amount from IRS National Standards for Allowable Living Expenses for the applicable family size and income level.
                                                                     24
                                                                           (This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)
                                                                                                                                                                                                             $    1,280.00
                                                                           Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
                                                                     25A   Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is available at
                                                                           www.usdoj.gov/ust/ or from the clerk of the bankruptcy court).                                                                    $      311.00
                                                                           Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                           IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information is available
                                                                           at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the total of the Average Monthly
                                                                           Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and enter the result in
                                                                           Line 25B. Do not enter an amount less than zero.
                                                                     25B    a.     IRS Housing and Utilities Standards; mortgage/rental expense            $                  1,129.00
                                                                                   Average Monthly Payment for any debts secured by your home,
                                                                            b.     if any, as stated in Line 47                                            $                  2,507.73
                                                                            c.     Net mortgage/rental expense                                             Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                           Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A and
                                                                           25B does not accurately compute the allowance to which you are entitled under the IRS Housing and Utilities Standards,
                                                                           enter any additional amount to which you contend you are entitled, and state the basis for your contention in the space
                                                                     26    below:

                                                                                                                                                                                                             $
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                                                                          Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                          expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and regardless of
                                                                          whether you use public transportation.
                                                                          Check the number of vehicles for which you pay the operating expenses or for which the operating expenses are included
                                                                     27   as a contribution to your household expenses in Line 7.

                                                                          ü0        1     2 or more.
                                                                          Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for the applicable
                                                                          number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This information is available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)                                                                     $    299.00
                                                                          Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                          which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than two
                                                                          vehicles.)
                                                                             1      2 or more.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                     28   for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from Line a and enter the result in Line 28. Do
                                                                          not enter an amount less than zero.
                                                                           a.    IRS Transportation Standards, Ownership Costs, First Car                   $
                                                                                 Average Monthly Payment for any debts secured by Vehicle 1, as
                                                                           b.    stated in Line 47                                                          $
                                                                           c.    Net ownership/lease expense for Vehicle 1                                  Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
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                                                                          checked the “2 or more” Box in Line 23.
                                                                          Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car (available at
                                                                          www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Average Monthly Payments
                                                                          for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from Line a and enter the result in Line 29. Do
                                                                     29   not enter an amount less than zero.
                                                                           a.    IRS Transportation Standards, Ownership Costs, Second Car                  $
                                                                                 Average Monthly Payment for any debts secured by Vehicle 2, as
                                                                           b.    stated in Line 47                                                          $
                                                                           c.    Net ownership/lease expense for Vehicle 2                                  Subtract Line b from Line a
                                                                                                                                                                                                             $

                                                                          Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all federal,
                                                                     30   state, and local taxes, other than real estate and sales taxes, such as income taxes, self employment taxes, social
                                                                          security taxes, and Medicare taxes. Do not include real estate or sales taxes.                                                     $   1,291.06
                                                                          Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly payroll
                                                                     31   deductions that are required for your employment, such as mandatory retirement contributions, union dues, and uniform
                                                                          costs. Do not include discretionary amounts, such as non-mandatory 401(k) contributions.                                           $

                                                                          Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually pay for term life
                                                                     32   insurance for yourself. Do not include premiums for insurance on your dependents, for whole life or for any other
                                                                          form of insurance.                                                                                                                 $

                                                                          Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required to
                                                                     33   pay pursuant to court order, such as spousal or child support payments. Do not include payments on past due support
                                                                          obligations included in Line 44.                                                                                                   $

                                                                          Other Necessary Expenses: education for employment or for a physically or mentally challenged
                                                                     34   child. Enter the total monthly amount that you actually expend for education that is a condition of employment and for
                                                                          education that is required for a physically or mentally challenged dependent child for whom no public education providing
                                                                          similar services is available.                                                                                                     $

                                                                     35
                                                                          Other Necessary Expenses: childcare. Enter the average monthly amount that you actually expend on childcare.
                                                                          Do not include payments made for children’s education.                                                                             $

                                                                          Other Necessary Expenses: health care. Enter the average monthly amount that you actually expend on health
                                                                     36   care expenses that are not reimbursed by insurance or paid by a health savings account. Do not include payments for
                                                                          health insurance listed in Line 39.                                                                                                $

                                                                          Other Necessary Expenses: telecommunication services. Enter the average monthly expenses that you
                                                                     37   actually pay for cell phones, pagers, call waiting, caller identification, special long distance, or internet services necessary
                                                                          for the health and welfare of you or your dependents. Do not include any amount previously deducted.                               $
                                                                     38   Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                                $   3,181.06
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                                                                                                       Subpart B: Additional Expense Deductions under § 707(b)
                                                                                                    Note: Do not include any expenses that you have listed in Lines 24-37
                                                                          Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the average monthly
                                                                          amounts that you actually expend in each of the following categories and enter the total.
                                                                           a.    Health Insurance                                                       $
                                                                     39    b.    Disabilit y I nsur ance                                                $
                                                                           c.    Healt h Sav ings Account                                               $
                                                                                                                                                        Total: Add Lines a, b and c
                                                                                                                                                                                                        $

                                                                          Continued contributions to the care of household or family members. Enter the actual monthly expenses
                                                                     40   that you will continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled
                                                                          member of your household or member of your immediate family who is unable to pay for such expenses. Do not include
                                                                          payments listed in Line 34.                                                                                                   $

                                                                     41
                                                                          Protection against family violence. Enter any average monthly expenses that you actually incurred to maintain the
                                                                          safety of your family under the Family Violence Prevention and Services Act or other applicable federal law.                  $

                                                                          Home energy costs in excess of the allowance specified by the IRS Local Standards. Enter the average
                                                                     42   monthly amount by which your home energy costs exceed the allowance in the IRS Local Standards for Housing and
                                                                          Utilities. You must provide your case trustee with documentation demonstrating that the additional amount
                                                                          claimed is reasonable and necessary.                                                                                          $

                                                                          Education expenses for dependent children less than 18. Enter the average monthly expenses that you
                                                                     43   actually incur, not to exceed $125 per child, in providing elementary and secondary education for your dependent children
                                                                          less than 18 years of age. You must provide your case trustee with documentation demonstrating that the amount
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                                                                          claimed is reasonable and necessary and not already accounted for in the IRS Standards.                                       $

                                                                          Additional food and clothing expense. Enter the average monthly amount by which your food and clothing
                                                                          expenses exceed the combined allowances for food and apparel in the IRS National Standards, not to exceed five
                                                                     44   percent of those combined allowances. (This information is available at www.usdoj.gov/ust/ or from the clerk of the
                                                                          bankruptcy court.) You must provide your case trustee with documentation demonstrating that the additional
                                                                          amount claimed is reasonable and necessary.                                                                                   $

                                                                     45
                                                                          Continued charitable contributions. Enter the amount that you will continue to contribute in the form of cash or
                                                                          financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).                                   $
                                                                     46   Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45                                    $

                                                                                                                   Subpart C: Deductions for Debt Payment
                                                                          Future payments on secured claims. For each of your debts that is secured by an interest in property that you
                                                                          own, list the name of creditor, identify the property securing the debt, and state the Average Monthly Payment. The
                                                                          Average Monthly Payment is the total of all amounts contractually due to each Secured Creditor in the 60 months
                                                                          following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance
                                                                          required by the mortgage. If necessary, list additional entries on a separate page.
                                                                                                                                                                                          60-month
                                                                     47          Name of Creditor                                Property Securing the Debt                            Average Pmt
                                                                           a.    Citimortgage                                    Residence                                         $      2,507.73
                                                                           b.    Barrier Island Station, Inc.                    timeshare                                         $         68.11
                                                                           c.    See Continuation Sheet                                                                            $        705.08
                                                                                                                                                                        Total: Add lines a, b and c.
                                                                                                                                                                                                        $   3,280.92
                                                                          Past due payments on secured claims. If any of the debts listed in Line 47 are in default, and the property
                                                                          securing the debt is necessary for your support or the support of your dependents, you may include in your deductions
                                                                          1/60th of the amount that you must pay the creditor as a result of the default (the “cure amount”) in order to maintain
                                                                          possession of the property. List any such amounts in the following chart and enter the total. If necessary, list additional
                                                                          entries on a separate page.
                                                                                                                                                                                       1/60th of the
                                                                     48          Name of Creditor                                Property Securing the Debt in Default                 Cure Amount
                                                                           a.                                                                                                      $
                                                                           b.                                                                                                      $
                                                                           c.                                                                                                      $
                                                                                                                                                                        Total: Add lines a, b and c.
                                                                                                                                                                                                        $

                                                                     49
                                                                          Payments on priority claims. Enter the total amount of all priority claims (including priority child support and alimony
                                                                          claims), divided by 60.                                                                                                       $
                                                                                                      Case 06-14098               Doc 1        Filed 07/13/06            Page 7 of 41
                                                                          Chapter 13 administrative expenses. If you are eligible to file a case under Chapter 13, complete the following
                                                                          chart, multiply the amount in Line a by the amount in Line b, and enter the resulting administrative expense.
                                                                           a.       Projected average monthly Chapter 13 plan payment.                      $

                                                                     50             Current multiplier for your district as determined under schedules
                                                                                    issued by the Executive Office for United States Trustees. (This
                                                                                    information is available at www.usdoj.gov/ust/ or from the clerk of
                                                                           b.       the bankruptcy court.)                                                  X
                                                                           c.       Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b
                                                                                                                                                                                                             $
                                                                     51   Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                                         $        3,280.92
                                                                                                           Subpart D: Total Deductions Allowed under § 707(b)(2)
                                                                     52   Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46, and 51.                                        $        6,461.98

                                                                                     Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                     53   Enter current monthly income. Enter the amount from Line 20.                                                                       $        6,120.59
                                                                          Support Income. Enter the monthly average of any child support payments, foster care payments, or disability
                                                                     54   payments for a dependent child, included in Line 7, that you received in accordance with applicable nonbankruptcy law, to
                                                                          the extent reasonably necessary to be expended for such child.                                                                     $

                                                                          Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage deductions made to
                                                                     55   qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans from retirement plans, as specified
                                                                          in § 362(b)(19).                                                                                                                   $
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                                                                     56   Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                                  $        6,461.98

                                                                     57
                                                                          Total adjustments to determine disposable income. Add the amounts on Line 54, 55, and 56 and enter the
                                                                          result.                                                                                                                            $        6,461.98
                                                                     58   Monthly Disposable Income Under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the result.                                  $               0.00

                                                                                                                Part VI. ADDITIONAL EXPENSE CLAIMS
                                                                          Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health and welfare of
                                                                          you and your family and that you contend should be an additional deduction from your current monthly income under § 707(b)(2)(A)(ii)(I). If
                                                                          necessary, list additional sources on a separate page. All figures should reflect your average monthly expense for each item. Total the
                                                                          expenses.
                                                                                    Expense Description                                                                                             Monthly Amount
                                                                     59    a.                                                                                                                   $
                                                                           b.                                                                                                                   $
                                                                           c.                                                                                                                   $
                                                                                                                                                            Total: Add Lines a, b and c         $



                                                                                                                              Part VII. VERIFICATION
                                                                          I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case, both debtors must
                                                                          sign.)


                                                                     60   Date: July 13, 2006                        Signature: /s/ Thomas Hugh Sale, Sr.
                                                                                                                                                                             (Debtor)


                                                                          Date: July 13, 2006                        Signature: /s/ Darlene Fay Sale
                                                                                                                                                                       (Joint Debtor, if any)
                                                                                                       Case 06-14098                  Doc 1     Filed 07/13/06           Page 8 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                           Case No.
                                                                                                                          Debtor(s)


                                                                                                               STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                Continuation Sheet - Deductions for Debt Payment
                                                                     Future payments on secured claims. For each of your debts that is secured by an interest in property that you own, list the name of creditor, identify the
                                                                     property securing the debt, and state the Average Monthly Payment. The Average Monthly Payment is the total of all amounts contractually due to each
                                                                     Secured Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mortgage debts should include payments of taxes and insurance
                                                                     required by the mortgage.
                                                                                                                                                                                                                     60-month
                                                                     Name of Creditor                                                   Property Securing the Debt                                                Average Pmt
                                                                     Barrier Island Station, Inc.                                       timeshare                                                                       554.65
                                                                     Williamsburg Plantation                                            timeshare                                                                       150.43
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                                                                                                                 Case 06-14098                   Doc 1          Filed 07/13/06                     Page 9 of 41
                                                                     (Official Form 1) (10/05)
                                                                      FORM B1
                                                                                                                    United States Bankruptcy Court                                                                          Voluntary Petition
                                                                                                                         District of Maryland
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                                       Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Sale, Thomas Hugh Sr.                                                                            Sale, Darlene Fay
                                                                      All Other Names used by the Debtor in the last 8 years                                           All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                                      (include married, maiden, and trade names):




                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than               Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more than
                                                                      one, state all):                                                                                 one, state all):
                                                                                         8721                                                                                              4282
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                                 Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      12433 Oakview Ct                                                                                 12433 Oakview Ct
                                                                      Newburg, MD                                                                                      Newburg, MD
                                                                                                                                                ZIPCODE                                                                                       ZIPCODE
                                                                                                                                                20664                                                                                         20664
                                                                      County of Residence or of the Principal Place of Business:                                       County of Residence or of the Principal Place of Business:
                                                                      Charles                                                                                          Charles
                                                                      Mailing Address of Debtor (if different from street address)                                     Mailing Address of Joint Debtor (if different from street address):


                                                                                                                                                ZIPCODE                                                                                       ZIPCODE
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                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                                              ZIPCODE


                                                                      Type of Debtor (Form of Organization)                     Nature of Business                                           Chapter of Bankruptcy Code Under Which
                                                                                (Check one box.)                            (Check all applicable boxes.)                                       the Petition is Filed (Check one box)

                                                                      üIndividual (includes Joint Debtors)                Health Care Business                             Chapter 7              Chapter 11            Chapter 15 Petition for Recognition
                                                                         Corporation (includes LLC and LLP)               Single Asset Real Estate as defined              Chapter 9              Chapter 12            of a Foreign Main Proceeding
                                                                         Partnership
                                                                         Other (If debtor is not one of the
                                                                                                                          in 11 U.S.C. § 101(51B)                                  ü      Chapter 13                    Chapter 15 Petition for Recognition
                                                                                                                          Railroad                                                                                      of a Foreign Nonmain Proceeding
                                                                         above entities, check this box and               Stockbroker
                                                                         provide the information requested                Commodity Broker                                                         Nature of Debts (Check one box)
                                                                         below.)                                          Clearing Bank
                                                                         State type of entity:                            Nonprofit Organization qualified          ü Consumer/Non-Business                    Business
                                                                                                                          under 15 U.S.C. § 501(c)(3)
                                                                                                        Filing Fee (Check one box)                                                                 Chapter 11 Debtors:
                                                                                                                                                                    Check one box:
                                                                      üFull Filing Fee attached                                                                       Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                         Filing Fee to be paid in installments (Applicable to individuals only). Must
                                                                         attach signed application for the court’s consideration certifying that the debtor           Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                                                      -----------------------------------------------------
                                                                         is unable to pay fee except in installments. Rule 1006(b). See Official Form
                                                                         3A.                                                                                        Check if:
                                                                         Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must                 Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                         attach signed application for the court’s consideration. See Official Form 3B.               affiliates are less than $2 million.
                                                                      Statistical/Administrative Information                                                                                                         THIS SPACE IS FOR COURT USE ONLY

                                                                      üDebtor estimates that funds will be available for distribution to unsecured creditors.
                                                                          Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be
                                                                          no funds available for distribution to unsecured creditors.
                                                                      Estimated Number of Creditors
                                                                        1-           50-         100-        200-       1,000-        5,001-    10,001-      25,001-         50,001-           Over
                                                                        49           99          199         999        5,000         10,000    25,000       50,000          100,000          100,000
                                                                        ü
                                                                      Estimated Assets
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                                                              ü
                                                                      Estimated Debts
                                                                         $0 to             $50,001 to     $100,001 to   $500,001 to     $1,000,001 to $10,000,001 to $50,000,001 to          More than
                                                                        $50,000             $100,000       $500,000      $1 million      $10 million    $50 million   $100 million          $100 million
                                                                                                              ü
                                                                     VOLUNTARY PETITION
                                                                                                       Case 06-14098                Doc 1       Filed 07/13/06               Page 10 of 41
                                                                     (Official Form 1) (10/05)                                                                                                                 FORM B1, Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Sale, Thomas Hugh Sr. & Sale, Darlene Fay
                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                           whose debts are primarily consumer debts)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter.
                                                                                                                                                     I further certify that I delivered to the debtor the notice required by §
                                                                                                                                                     342(b) of the Bankruptcy Code.

                                                                                                                                                     X   /s/ Andrew G. Delapaz                                          7/13/06
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                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date


                                                                                                     Exhibit C                                                   Certification Concerning Debt Counseling
                                                                      Does the debtor own or have possession of any property that poses or is                           by Individual/Joint Debtor(s)
                                                                      alleged to pose a threat of imminent and identifiable harm to public
                                                                      health or safety?                                                              ü I/we have received approved budget and credit counseling during the
                                                                                                                                                         180-day period preceding the filing of this petition
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                                                                                                         I/we request a waiver of the requirement to obtain budget and credit
                                                                      ü No                                                                               counseling prior to filing based on exigent circumstances. (Must
                                                                                                                                                         attach certification describing.)

                                                                                                           Information Regarding the Debtor (Check the Applicable Boxes)
                                                                                                                                 Venue (Check any applicable box)

                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                      Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                     Check all applicable boxes.

                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)


                                                                                                                                    (Address of landlord or lessor)

                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                              entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                                                                              of the petition.


                                                                     VOLUNTARY PETITION
                                                                                                               Case 06-14098        Doc 1        Filed 07/13/06               Page 11 of 41
                                                                     (Official Form 1) (10/05)                                                                                                                             FORM B1, Page 3
                                                                     Voluntary Petition                                                             Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                         Sale, Thomas Hugh Sr. & Sale, Darlene Fay
                                                                                                                                            Signatures
                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                      Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this      I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                 petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts      in a foreign main proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed         A certified copy of the order granting recognition is attached.
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand      (Check one box only)
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                         I request relief in accordance with chapter 15 of title 11, United
                                                                      chapter 7.
                                                                                                                                                         States Code. Certified copies of the documents required by § 1515 of
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                                                                                                         title 11 are attached.
                                                                      the petition] I have obtained and read the notice required by § 342(b) of
                                                                      the Bankruptcy Code.                                                               Pursuant to § 1511 of title 11, United States Code, I request relief in
                                                                                                                                                         accordance with the chapter of title 11 specified in this petition. A
                                                                      I request relief in accordance with the chapter of title 11, United States
                                                                                                                                                         certified copy of the order granting recognition of the foreign main
                                                                      Code, specified in this petition.
                                                                                                                                                         proceeding is attached.
                                                                      X   /s/ Thomas Hugh Sale, Sr.
                                                                          Signature of Debtor                            Thomas Hugh Sale, Sr.      X
                                                                                                                                                         Signature of Foreign Representative
                                                                      X   /s/ Darlene Fay Sale
                                                                          Signature of Joint Debtor                           Darlene Fay Sale      X
                                                                                                                                                         Printed Name of Foreign Representative
                                                                          (301) 934-3677
                                                                          Telephone Number (If not represented by attorney)
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                                                                                                                                                         Date
                                                                          July 13, 2006
                                                                          Date

                                                                                                      Signature of Attorney                                        Signature of Non-Attorney Petition Preparer
                                                                                                                                                    I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Andrew G. Delapaz                                                     preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                       compensation and have provided the debtor with a copy of this document
                                                                          Andrew G. Delapaz 14221                                                   and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Printed Name of Attorney for Debtor(s)                                    110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                                                                                                    pursuant to 11 U.S.C. § 110 setting a maximum fee for services
                                                                          The Law Offices Of Raymond Carignan, Cht                                  chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Firm Name
                                                                                                                                                    notice of the maximum amount before preparing any document for filing
                                                                          7700 Old Branch Ave., Suite E-103                                         for a debtor or accepting any fee from the debtor, as required in that
                                                                          Address                                                                   section. Official Form 19B is attached.
                                                                          Clinton, MD 20735
                                                                                                                                                    Printed Name and title, if any, of Bankruptcy Petition Preparer

                                                                          (301) 868-2005                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                          Telephone Number                                                          Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                    bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          July 13, 2006
                                                                          Date
                                                                                                                                                    Address

                                                                                    Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct, and that I have been authorized to file this    X
                                                                      petition on behalf of the debtor.                                                  Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                                                                                                         partner whose social security number is provided above.

                                                                      The debtor requests relief in accordance with the chapter of title 11,
                                                                                                                                                         Date
                                                                      United States Code, specified in this petition.
                                                                                                                                                    Names and Social Security numbers of all other individuals who
                                                                      X                                                                             prepared or assisted in preparing this document unless the bankruptcy
                                                                          Signature of Authorized Individual                                        petition preparer is not an individual:

                                                                          Printed Name of Authorized Individual

                                                                                                                                                    If more than one person prepared this document, attach additional
                                                                          Title of Authorized Individual                                            sheets conforming to the appropriate official form for each person.
                                                                                                                                                    A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Date                                                                      of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                    in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.

                                                                     VOLUNTARY PETITION
                                                                                                          Case 06-14098                 Doc 1         Filed 07/13/06              Page 12 of 41
                                                                                                                                 United States Bankruptcy Court
                                                                                                                                       District of Maryland

                                                                     IN RE:                                                                                                               Case No.
                                                                     Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                            Chapter 13
                                                                                                                         Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor's liabilities. Individual debtors must also complete the “Statistical Summary of Certain Liabilities.”

                                                                                                                                                                                            AMOUNTS SCHEDULED

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)           SHEETS                 ASSETS                 LIABILITIES                 OTHER


                                                                      A - Real Property                                              Yes                      1       $       256,516.00



                                                                      B - Personal Property                                          Yes                      3       $          9,380.00
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                                                                      C - Property Claimed as Exempt                                 Yes                      1



                                                                      D - Creditors Holding Secured Claims                           Yes                      2                                $       196,855.14


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                     Yes                      1                                $                0.00
                                                                          Claims

                                                                      F - Creditors Holding Unsecured
                                                                                                                                     Yes                      4                                $       103,783.33
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                     Yes                      1
                                                                          Leases


                                                                      H - Codebtors                                                  Yes                      1


                                                                      I - Current Income of Individual
                                                                                                                                     Yes                      2                                                         $           6,914.41
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                     Yes                      2                                                         $           5,478.15
                                                                          Debtor(s)


                                                                                                                                     TOTAL                   18       $       265,896.00 $             300,638.47




                                                                     SUMMARY OF SCHEDULES
                                                                                                         Case 06-14098              Doc 1    Filed 07/13/06      Page 13 of 41
                                                                                                                                United States Bankruptcy Court
                                                                                                                                      District of Maryland

                                                                     IN RE:                                                                                          Case No.
                                                                     Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                       Chapter 13
                                                                                                                        Debtor(s)

                                                                                                STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                                                                                                 [Individual Debtors Only]
                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                                   Amount

                                                                      Domestic Support Obligations (from Schedule E)

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)

                                                                      Claims for Death or Personal Injury While Debtor was Intoxicated (from Schedule E)

                                                                      Student Loan Obligations (from Schedule F)

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E
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                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)

                                                                                                                                                                                  TOTAL     0.00




                                                                     STATISTICAL SUMMARY OF CERTAIN LIABILITIES (28 U.S.C. § 159)
                                                                                                           Case 06-14098                  Doc 1         Filed 07/13/06               Page 14 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                         Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant , community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint or “C” for Community in the column labeled
                                                                     “HWJC.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                   CURRENT VALUE OF
                                                                                                                                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S        W     PROPERTY WITHOUT         AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J       DEDUCTING ANY               CLAIM
                                                                                                                                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                       EXEMPTION

                                                                     12433 Oakview Court, Newburg, MD 20664-2209                                               Tenancy by the                J            139,570.00                150,463.50
                                                                                                                                                               Entirety
                                                                     12437 Oakview Court, Newburg, MD 20664                                                    Tenancy by the                J              44,476.00                        0.00
                                                                                                                                                               Entirety
                                                                     12439 Oakview Court, Newburg,MD 20646                                                     Tenancy by the                J              27,970.00                        0.00
                                                                                                                                                               Entirety
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                                                                     Barrier Island Station One, Acct No. CB117-13, Timeshare, Unit Tenancy by the                                           J                4,000.00                 4,086.39
                                                                     Week 13, Unit 117                                              Entirety
                                                                     Barrier Island Station One, Acct No.GHEVEN1301-22, Unit                                   Tenancy by the                J              20,000.00                 33,279.16
                                                                     Week 31, Unit No. 602                                                                     Entirety
                                                                     Barrier Island Station One, Unit Week 41, Unit 811, timeshare                                                           J              12,000.00                        0.00
                                                                     Disney Vacation Development, time share, Book 5590, Page                                  Fee Simple                    J                3,000.00                       0.00
                                                                     765
                                                                     Summer Bay Resort, account # 77864-1, PO Box 4600,                                        Tenancy by the                J                  500.00                       0.00
                                                                     Scottsdale, AZ 85261-4600                                                                 Entirety
                                                                     Williamsburg Plantation, Acct # 54054116841, 3015 North                                   Tenancy by the                J                5,000.00                 9,026.09
                                                                     Ocean Boulevard, Suite 121, Ft. Lauderdale, FL 33308                                      Entirety




                                                                                                                                                                                     TOTAL                256,516.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY
                                                                                                           Case 06-14098                 Doc 1          Filed 07/13/06              Page 15 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                        Case No.
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint,
                                                                     or “C” for Community in the column labeled “HWJC.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule
                                                                     C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” In providing the
                                                                     information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                       N                                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                              W     PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                              J       DEDUCTING ANY
                                                                                                                       E                                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION

                                                                        1. Cash on hand.                                   Cash on hand                                                                               J                    90.00
                                                                        2. Checking, savings or other financial        X
                                                                           accounts, certificates of deposit, or
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
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                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                China Cabinet/Hutch, Sofa and/or loveseat, End tables                                      J                  105.00
                                                                           include audio, video, and computer              Entertainment Center, Sewing machine, Knitting Machine                                     J                    50.00
                                                                           equipment.
                                                                                                                           Freezer, Washer, Dryer, Refrigerator                                                       J                  185.00
                                                                                                                           Lamps, Chairs, Beds, Dressers, Night stands, Chest of Drawers                              J                  195.00
                                                                                                                           Stove, Microware, Dining Set                                                               J                  160.00
                                                                                                                           Televisons, VCR                                                                            J                  105.00
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Shoes, pants, shirts, suits, coats, etc.                                                   J                  200.00
                                                                        7. Furs and jewelry.                               Wedding & engagement rings                                                                 J                  500.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(3). 11
                                                                          U.S.C. § 521(c); Rule 1007(b)).
                                                                      12. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Itemize.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                          Case 06-14098             Doc 1     Filed 07/13/06           Page 16 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                             Case No.
                                                                                                                            Debtor(s)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                 CURRENT VALUE OF
                                                                                                                     N                                                                      H   DEBTOR'S INTEREST IN
                                                                                                                     O                                                                      W    PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                      J      DEDUCTING ANY
                                                                                                                     E                                                                      C    SECURED CLAIM OR
                                                                                                                                                                                                     EXEMPTION

                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owing debtor        X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
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                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) in customer lists or similar
                                                                          compilations provided to the debtor
                                                                          by individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1971 Holiday trailer, VIN Te11586236T, very poor shape             J                150.00
                                                                          other vehicles and accessories.                1974 Honda CB 360, 2000 miles, not operatable                      J                 25.00
                                                                                                                         CB 3601014515
                                                                                                                         1974 Honda CB360 , 2000 miles, not operable                        J                 25.00
                                                                                                                         CB3601020771
                                                                                                                         1976 Ford Mustang, 124,000 miles, very poor condition              J                250.00
                                                                                                                         VIN 6FO3F157691
                                                                                                                         1986 Ford Truck F150, 285,000 miles, fair condition                J                875.00
                                                                                                                         1FTEF1546GNA64825
                                                                                                                         1996 Chev. G1500, 160,000 miles, fair condition                    J             2,715.00
                                                                                                                         1GBFG15M7T1004038
                                                                                                                         2001 Ford C. Victoria 125,000 miles, Fair condition                J             3,750.00
                                                                                                                         2FAFP74W31X189510
                                                                      26. Boats, motors, and accessories.            X


                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                       Case 06-14098          Doc 1   Filed 07/13/06           Page 17 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                     Case No.
                                                                                                                      Debtor(s)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)

                                                                                                                                                                                                    CURRENT VALUE OF
                                                                                                                N                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                O                                                                             W     PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                             J       DEDUCTING ANY
                                                                                                                E                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                        EXEMPTION

                                                                      27. Aircraft and accessories.             X
                                                                      28. Office equipment, furnishings, and    X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and   X
                                                                          supplies used in business.
                                                                      30. Inventory.                            X
                                                                      31. Animals.                              X
                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                       TOTAL                  9,380.00
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                   Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                          Case 06-14098                Doc 1         Filed 07/13/06            Page 18 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                  Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $125,000.
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     Barrier Island Station One, Unit Week 41,                    ACM, C & JP § 11-504(f)                                           10,000.00               12,000.00
                                                                     Unit 811, timeshare
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on hand                                                 ACM, C & JP § 11-504(b)(5)                                             90.00                    90.00
                                                                     China Cabinet/Hutch, Sofa and/or loveseat, ACM, C & JP § 11-504(b)(4)                                                              105.00                   105.00
                                                                     End tables
                                                                     Entertainment Center, Sewing machine,                        ACM, C & JP § 11-504(b)(4)                                             50.00                    50.00
                                                                     Knitting Machine
                                                                     Freezer, Washer, Dryer, Refrigerator                         ACM, C & JP § 11-504(b)(4)                                            185.00                   185.00
                                                                     Lamps, Chairs, Beds, Dressers, Night                         ACM, C & JP § 11-504(b)(4)                                            195.00                   195.00
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                                                                     stands, Chest of Drawers
                                                                     Stove, Microware, Dining Set                                 ACM, C & JP § 11-504(b)(4)                                            160.00                   160.00
                                                                     Televisons, VCR                                              ACM, C & JP § 11-504(b)(4)                                            105.00                   105.00
                                                                     Shoes, pants, shirts, suits, coats, etc.                     ACM, C & JP § 11-504(b)(4)                                            200.00                   200.00
                                                                     Wedding & engagement rings                                   ACM, C & JP § 11-504(b)(4)                                            500.00                   500.00
                                                                     1971 Holiday trailer, VIN Te11586236T, very ACM, C & JP § 11-504(b)(5)                                                             150.00                   150.00
                                                                     poor shape
                                                                     1974 Honda CB 360, 2000 miles, not                           ACM, C & JP § 11-504(b)(5)                                             25.00                    25.00
                                                                     operatable
                                                                     CB 3601014515
                                                                     1974 Honda CB360 , 2000 miles, not                           ACM, C & JP § 11-504(b)(5)                                             25.00                    25.00
                                                                     operable
                                                                     CB3601020771
                                                                     1976 Ford Mustang, 124,000 miles, very                       ACM, C & JP § 11-504(b)(5)                                            250.00                   250.00
                                                                     poor condition
                                                                     VIN 6FO3F157691
                                                                     1986 Ford Truck F150, 285,000 miles, fair                    ACM, C & JP § 11-504(b)(5)                                            875.00                   875.00
                                                                     condition
                                                                     1FTEF1546GNA64825
                                                                     1996 Chev. G1500, 160,000 miles, fair                        ACM, C & JP § 11-504(b)(5)                                          2,715.00               2,715.00
                                                                     condition
                                                                     1GBFG15M7T1004038
                                                                     2001 Ford C. Victoria 125,000 miles, Fair                    ACM, C & JP § 11-504(b)(5)                                          3,750.00               3,750.00
                                                                     condition
                                                                     2FAFP74W31X189510




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                           Case 06-14098                  Doc 1          Filed 07/13/06               Page 19 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                          Case No.
                                                                                                                                 Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.

                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child.” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N          AMOUNT OF CLAIM
                                                                                                                                     C                                                                         O    L   D     WITHOUT DEDUCTING
                                                                                                                                     O                                                                         N    I   I    VALUE OF COLLATERAL
                                                                                                                                     D    H                                                                    T    Q   S
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                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                           DATE CLAIM WAS INCURRED,
                                                                                                                                     E    W                                                                    I    U   P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                               NATURE OF LIEN, AND DESCRIPTION AND VALUE OF
                                                                                                                                     B    J                                                                    N    I   U
                                                                                         (See instructions above.)                                            PROPERTY SUBJECT TO LIEN
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E    UNSECURED PORTION, IF
                                                                                                                                     R                                                                         N    T   D           ANY
                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No. CB117-13                                                 J timeshare condo
                                                                     Barrier Island Station, Inc.
                                                                     One Cypress Knee Trail                                                                                                                                              4,086.39
                                                                     Kitty Hawk, NC 27949

                                                                                                                                              Value $              4,000.00                                                                  86.39
                                                                     Account No.                                                              Assignee or other notification for:
                                                                     Benita A. Lloyd                                                          Barrier Island Station, Inc.
                                                                     Gray & Lloyd, LLP
                                                                     3120 N. Croatan Highway, Suite 101
                                                                     Kill Devil Hills, NC 27948
                                                                                                                                              Value $

                                                                     Account No. GHEVEN1301-22                                            J
                                                                     Barrier Island Station, Inc.
                                                                     One Cypress Knee Trail                                                                                                                                             33,279.16
                                                                     Kitty Hawk, NC 27949

                                                                                                                                              Value $             20,000.00                                                             13,279.16
                                                                     Account No.                                                              Assignee or other notification for:
                                                                     Benita A. Lloyd                                                          Barrier Island Station, Inc.
                                                                     Gray & Lloyd, LLP
                                                                     3120 N. Croatan Highway, Suite 101
                                                                     Kill Devil Hills, NC 27948
                                                                                                                                              Value $
                                                                                                                                                                                                                Subtotal
                                                                               1 continuation sheets attached                                                                                       (Total of this page)                37,365.55

                                                                                                                                                 (Use only on last page of the completed Schedule D) TOTAL
                                                                                                                                                                                                       (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                     Case 06-14098           Doc 1          Filed 07/13/06            Page 20 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                         Case No.
                                                                                                                     Debtor(s)

                                                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                     (Continuation Sheet)
                                                                                                                                                                                                  U
                                                                                                                                                                                              C   N          AMOUNT OF CLAIM
                                                                                                                         C                                                                    O   L    D    WITHOUT DEDUCTING
                                                                                                                         O                                                                    N   I    I   VALUE OF COLLATERAL
                                                                                                                         D   H                                                                T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS                                 DATE CLAIM WAS INCURRED,
                                                                                                                         E   W                                                                I   U    P
                                                                             INCLUDING ZIP CODE AND ACCOUNT NUMBER                      NATURE OF LIEN, AND DESCRIPTION AND VALUE OF
                                                                                                                         B   J                                                                N   I    U
                                                                                           (See instructions.)                                    PROPERTY SUBJECT TO LIEN
                                                                                                                         T   C                                                                G   D    T
                                                                                                                         O                                                                    E   A    E   UNSECURED PORTION, IF
                                                                                                                         R                                                                    N   T    D          ANY
                                                                                                                                                                                              T   E
                                                                                                                                                                                                  D

                                                                     Account No. 2001287467-1                                J
                                                                     Citimortgage
                                                                     P.O. Box 9438                                                                                                                                 150,463.50
                                                                     Gaithersburg, MD 20898-9438

                                                                                                                                 Value $          139,570.00                                                         10,893.50
                                                                     Account No. 54054116811                                 J timeshare
                                                                     Williamsburg Plantation
                                                                     4800 N Scottsdale Rod, MS4W30                                                                                                                    9,026.09
                                                                     Scottsdale, AZ 85251-7623
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                                                                                                                                 Value $             5,000.00                                                         4,026.09
                                                                     Account No.




                                                                                                                                 Value $

                                                                     Account No.




                                                                                                                                 Value $

                                                                     Account No.




                                                                                                                                 Value $

                                                                     Account No.




                                                                                                                                 Value $

                                                                     Account No.




                                                                                                                                 Value $
                                                                                                                                                                                              Subtotal
                                                                     Sheet no.         1 of       1 sheets attached to Schedule of                                                (Total of this page)             159,489.59
                                                                     Creditors Holding Secured Claims
                                                                                                                                     (Use only on last page of the completed Schedule D) TOTAL                     196,855.14
                                                                                                                                                                                       (Report total also on Summary of Schedules)
                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                            Case 06-14098                  Doc 1          Filed 07/13/06                Page 21 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                           Case No.
                                                                                                                                 Debtor(s)

                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.
                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m).
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable on
                                                                     each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “HWJC.” If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim
                                                                     is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X”
                                                                     in more than one of these three columns.)
                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Total” on the last sheet of the completed schedule. If applicable, also report this total on the Means Test form.

                                                                     üCheck this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Domestic Support Obligations
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                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                          Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.



                                                                               0 continuation sheets attached



                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                           Case 06-14098                  Doc 1          Filed 07/13/06               Page 22 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                          Case No.
                                                                                                                                 Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community maybe liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                                                                                    U
                                                                                                                                                                                                               C    N
                                                                                                                                     C                                                                         O    L   D
                                                                                                                                     O                                                                         N    I   I
                                                                                                                                     D    H                                                                    T    Q   S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                     E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.            I    U   P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                           AMOUNT OF CLAIM
                                                                                                                                     B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                N    I   U
                                                                                         (See instructions above.)
                                                                                                                                     T    C                                                                    G    D   T
                                                                                                                                     O                                                                         E    A   E
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                                                                                                                                     R                                                                         N    T   D
                                                                                                                                                                                                               T    E
                                                                                                                                                                                                                    D

                                                                     Account No. 07010263361                                             W
                                                                     American Online
                                                                     C/O C.C.S.
                                                                     P.O. Box 55126
                                                                     Boston, MA 02205-5126
                                                                                                                                                                                                                                             95.60
                                                                     Account No. 4024-0807-7016-7878                                      J FRS File # ED2366, date incurred 12/1/79
                                                                     Bank Of America
                                                                     PO Box 1758
                                                                     Newark, NJ 07101

                                                                                                                                                                                                                                         4,250.79
                                                                     Account No.                                                              Assignee or other notification for:
                                                                     Financial Recovery Service                                               Bank Of America
                                                                     PO Box 385908
                                                                     Minneapolis, MN 55438-5908



                                                                     Account No. 4266-8397-7130-4484                                      J Credit Card, date incurred 1/1/95, File #
                                                                     Bankone                                                                563526
                                                                     C/O Liberty Point
                                                                     8440 Hardy Drive, Suite 202
                                                                     Tempe, AZ 85254
                                                                                                                                                                                                                                         2,723.64
                                                                     Account No. 5291-4922-5545-8149                                     H Credit Card, date incurred 10/1/02
                                                                     Capital One
                                                                     PO Box 85147
                                                                     Richmond, VA 23276

                                                                                                                                                                                                                                         7,988.89
                                                                                                                                                                                                                Subtotal
                                                                               3 continuation sheets attached                                                                                       (Total of this page)                15,058.92

                                                                                                                                                 (Use only on last page of the completed Schedule F) TOTAL
                                                                                                                                                                                                       (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                     Case 06-14098             Doc 1        Filed 07/13/06           Page 23 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                        Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)
                                                                                                                                                                                               U
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                                                                                                                          O                                                                N   I    I
                                                                                                                          D    H                                                           T   Q    S
                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
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                                                                     Account No.                                                   Assignee or other notification for:
                                                                     OSI Collection Services                                       Capital One
                                                                     PO Box 922
                                                                     Brookfield, WI 53008-0922



                                                                     Account No. 5291-4921-9498-3744                          H Credit Card, date incurred 4/1/02
                                                                     Capitol One Bank
                                                                     C/O Edward J. Hagan, Esq.
                                                                     PO Box 1085
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                                                                     Martinsburg, WV 25402-1085
                                                                                                                                                                                                                   8,791.50
                                                                     Account No. 4305-9822-6883-7070                           J Credit card
                                                                     Capitol One Services
                                                                     PO Box 85015
                                                                     Richmond, VA 23285

                                                                                                                                                                                                                     345.00
                                                                     Account No. 5369-9334-4026-9385                          W Credit card, date incurred 5/1/95
                                                                     Chase
                                                                     PO Box 830016
                                                                     Baltimore, MD 21283-0016

                                                                                                                                                                                                                   5,869.48
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Wolpoff & Abramson, LLP                                       Chase
                                                                     Two Irvington Centre
                                                                     702 King Farm Blvd.
                                                                     Rockville, MD 20850-5775

                                                                     Account No. 4366-1330-5267-6375                          W Credit card, date incurred 7/1/95
                                                                     Chase Bank USA NA
                                                                     C/O Unifund
                                                                     10625 Techwoods Circle
                                                                     Cincinatti, OH 45242
                                                                                                                                                                                                                   2,774.94
                                                                     Account No. 4225-8145-6001-5229                          H Credit card, date incurred 2/1/05, Acc#
                                                                     Chase Manhatten Bank                                       12992002050201548
                                                                     P. Scott Lowery, PC
                                                                     4500 Cherry Creek Drive South, Suite 700
                                                                     Denver, CO 80246
                                                                                                                                                                                                                   3,357.78
                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         1 of       3 sheets attached to Schedule of                                               (Total of this page)             21,138.70
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                     Case 06-14098             Doc 1        Filed 07/13/06           Page 24 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                        Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)
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                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                           G   D    T
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                                                                     Account No. 5450867802896                                W Credit Card, date incurred 5/1/79
                                                                     Citibank Sears
                                                                     C/O National Enterprise Systems
                                                                     29125 Solon Road
                                                                     Solon, OH 44139-3442
                                                                                                                                                                                                                   7,017.05
                                                                     Account No.                                                   Assignee or other notification for:
                                                                     National Enterprise Systems                                   Citibank Sears
                                                                     29125 Solon Road
                                                                     Solon, OH 44139-3442
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                                                                     Account No. 4428-1351-3021-9595                           J Credit Card
                                                                     Citibank, N.A.
                                                                     C/O Hudson & Keyse, LLC
                                                                     382 Blackbrook Road
                                                                     Painesville, OH 44077
                                                                                                                                                                                                                   9,460.14
                                                                     Account No. 6011-0031-2054-7508                           J Credit Card
                                                                     Discover Bank
                                                                     PO Box 15251
                                                                     Wilmington, DE 19886

                                                                                                                                                                                                                   4,332.77
                                                                     Account No. 6011-0037-2063-5976                           J Credit Card
                                                                     Discover Bank
                                                                     PO Box 15251
                                                                     Wilmington, DE 19886

                                                                                                                                                                                                                   2,000.00
                                                                     Account No. 6011-0030-9006-2363                          W Credit Card, date incurred 7/1/1991
                                                                     Discover Bank
                                                                     PO Box 15251
                                                                     Wilmington, DE 19886

                                                                                                                                                                                                                   9,048.99
                                                                     Account No. 1475429-NAGZ3                                W Ref# 071010007852473
                                                                     First Union National Bank
                                                                     C/O Risk Management Alternatives
                                                                     802 E. Martintown Suite 201
                                                                     North Augusta, GA 29841
                                                                                                                                                                                                                       50.63
                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         2 of       3 sheets attached to Schedule of                                               (Total of this page)             31,909.58
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                     Case 06-14098             Doc 1        Filed 07/13/06           Page 25 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                        Case No.
                                                                                                                       Debtor(s)

                                                                                        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                (Continuation Sheet)
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                                                                               CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                            INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                        AMOUNT OF CLAIM
                                                                                                                          B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                          (See instructions.)
                                                                                                                          T    C                                                           G   D    T
                                                                                                                          O                                                                E   A    E
                                                                                                                          R                                                                N   T    D
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                                                                                                                                                                                               D

                                                                     Account No.                                                   Assignee or other notification for:
                                                                     Risk Management Alternatives                                  First Union National Bank
                                                                     802 E. Martintown Suite 201
                                                                     North Augusta, GA 29841



                                                                     Account No. 28030270                                      J
                                                                     Ford Credit
                                                                     P.O. Box 1630
                                                                     La Plata, MD 20646-1630
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                                                                                                                                                                                                                   9,511.13
                                                                     Account No. 74973524225355                                J Credit card, date incurred 8/1/02
                                                                     MBNA America
                                                                     PO Box 15027
                                                                     Wilmington, DE 19850-5027

                                                                                                                                                                                                                  26,093.00
                                                                     Account No. 17751127                                     H ID# 6019658
                                                                     Pegasus Satellite Televsion
                                                                     C/O Nationwide Credit Inc
                                                                     3602 N. Blackstone Ave, Ste G201
                                                                     Fresno, CA 93726-5398
                                                                                                                                                                                                                       72.00
                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                                                                                                                                             Subtotal
                                                                     Sheet no.         3 of       3 sheets attached to Schedule of                                               (Total of this page)             35,676.13
                                                                     Creditors Holding Unsecured Nonpriority Claims
                                                                                                                                              (Complete only on last sheet of Schedule F) TOTAL                 103,783.33
                                                                                                                                                                                    (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                            Case 06-14098                   Doc 1          Filed 07/13/06                Page 26 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                             Case No.
                                                                                                                                  Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in contract,
                                                                     i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
                                                                     contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C.
                                                                     § 112; Fed.R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                           STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                             STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                          Case 06-14098                  Doc 1         Filed 07/13/06               Page 27 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                       Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no codebtors.
                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS
                                                                                                          Case 06-14098                 Doc 1          Filed 07/13/06              Page 28 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                       Case No.
                                                                                                                               Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP                                                                                          AGE




                                                                      EMPLOYMENT:                                             DEBTOR                                                                   SPOUSE
                                                                      Occupation                Maintenance                                                             Teacher
                                                                      Name of Employer          Dunkirk Supply                                                          P.G. County Schools
                                                                      How long employed         29.5                                                                    29.5
                                                                      Address of Employer       Route 260                                                               14201 School Lane
                                                                                                Owings, MD 20736                                                        Upper Marlboro, MD 20772

                                                                     INCOME: (Estimate of average monthly income)                                                                                         DEBTOR                     SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (pro rate if not paid monthly)                                   $            1,013.79 $                4,545.91
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                                                                     2. Estimated monthly overtime                                                                                            $                         $
                                                                     3. SUBTOTAL                                                                                                              $            1,013.79 $                4,545.91
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $               155.09 $               1,100.69
                                                                       b. Insurance                                                                                                           $                         $
                                                                       c. Union dues                                                                                                          $                         $                63.92
                                                                       d. Other (specify) See Schedule Attached                                                                               $                         $               398.18
                                                                                                                                                                                              $                         $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $               155.09 $               1,562.79
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               858.70 $               2,983.12

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                         $
                                                                     8. Income from real property                                                                                             $                         $
                                                                     9. Interest and dividends                                                                                                $                         $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                         $
                                                                     11. Social Security or other government assistance
                                                                       (Specify) SSA Benefits                                                                                                 $            1,320.00 $
                                                                                                                                                                                              $                         $
                                                                     12. Pension or retirement income                                                                                         $            1,527.08 $
                                                                     13. Other monthly income
                                                                       (Specify) Cancellatin Of Debt And Interest                                                                             $               225.51 $
                                                                                                                                                                                              $                         $
                                                                                                                                                                                              $                         $

                                                                     14. SUBTOTAL OF INCOME REPORTED ON LINES 7 THROUGH 13                                                                    $            3,072.59 $
                                                                     15. TOTAL MONTHLY INCOME (Add amounts shown on Lines 6 through 14.)                                                      $            3,931.29 $                2,983.12

                                                                     16. TOTAL COMBINED MONTHLY INCOME $                                           6,914.41          (Report also on Summary of Schedules)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                      Case 06-14098                Doc 1     Filed 07/13/06        Page 29 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                   Case No.
                                                                                                                           Debtor(s)

                                                                                                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                                Continuation Sheet - Page 1 of 1

                                                                                                                                                                                  DEBTOR   SPOUSE
                                                                     Other Payroll Deductions:
                                                                     Med BCBs                                                                                                               182.50
                                                                     Pres BCBs                                                                                                               71.85
                                                                     Dental Aetna                                                                                                            36.03
                                                                     Vision BCBS                                                                                                              0.35
                                                                     Teach Pension                                                                                                          107.45
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                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                         Case 06-14098                 Doc 1         Filed 07/13/06              Page 30 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                    Case No.
                                                                                                                              Debtor(s)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                          $             2,121.27
                                                                         a. Are real estate taxes included? Yes ü No
                                                                         b. Is property insurance included? Yes ü No
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                            $               350.00
                                                                         b. Water and sewer                                                                                                                         $                60.00
                                                                         c. Telephone                                                                                                                               $               211.00
                                                                         d. Other                                                                                                                                   $
                                                                                                                                                                                                                    $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                       $                40.00
                                                                     4. Food                                                                                                                                        $               509.64
                                                                     5. Clothing                                                                                                                                    $                63.00
                                                                     6. Laundry and dry cleaning                                                                                                                    $                15.00
                                                                     7. Medical and dental expenses                                                                                                                 $                85.00
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                                                                     8. Transportation (not including car payments)                                                                                                 $               547.58
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                            $                15.00
                                                                     10. Charitable contributions                                                                                                                   $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                 $
                                                                         b. Life                                                                                                                                    $               157.80
                                                                         c. Health                                                                                                                                  $
                                                                         d. Auto                                                                                                                                    $               173.24
                                                                         e. Other                                                                                                                                   $
                                                                                                                                                                                                                    $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) Property Taxes For Adjacent Lots                                                                                                 $                64.83
                                                                                                                                                                                                                    $
                                                                     13. Installment payments (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                    $               507.00
                                                                         b. Other                                                                                                                                   $
                                                                         c. Other                                                                                                                                   $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                           $
                                                                     15. Payments for support of additional dependents not living at your home                                                                      $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                               $
                                                                     17. Other See Schedule Attached                                                                                                                $               557.79
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $

                                                                     18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                               $             5,478.15

                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of
                                                                     this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Total monthly income from Line 16 of Schedule I                                                                                         $             6,914.41
                                                                         b. Total monthly expenses from Line 18 above                                                                                               $             5,478.15
                                                                         c. Monthly net income (a. minus b.)                                                                                                        $             1,436.26

                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                      Case 06-14098              Doc 1    Filed 07/13/06        Page 31 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                Case No.
                                                                                                                        Debtor(s)

                                                                                            SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                             Continuation Sheet - Page 1 of 1

                                                                     Other Expenses (DEBTOR)
                                                                     Comcast                                                                                                    133.00
                                                                     Disney Vacation Club Dues                                                                                   68.55
                                                                     Maintenance Fee For Timeshare                                                                               42.42
                                                                     Back Rent                                                                                                  313.82
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                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                            Case 06-14098                      Doc 1    Filed 07/13/06    Page 32 of 41
                                                                     IN RE Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                             Case No.
                                                                                                                                       Debtor(s)

                                                                                                              DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                            19 sheets, and that
                                                                                                                                                                                           (Total shown on summary page plus 1)
                                                                     they are true and correct to the best of my knowledge, information, and belief.

                                                                     Date: July 13, 2006                                      Signature: /s/ Thomas Hugh Sale, Sr.
                                                                                                                                              Thomas Hugh Sale, Sr.                                                                            Debtor


                                                                     Date: July 13, 2006                                      Signature: /s/ Darlene Fay Sale
                                                                                                                                              Darlene Fay Sale                                                                   (Joint Debtor, if any)
                                                                                                                                                                                       [If joint case, both spouses must sign.]

                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                   Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                  Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                       (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of                  sheets, and that they are true and correct to the best of my knowledge, information, and belief.
                                                                                                (Total shown on summary page plus 1)




                                                                     Date:                                                    Signature:


                                                                                                                                                                                         (Print or type name of individual signing on behalf of debtor)

                                                                                                 [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                                       Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.

                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                        Case 06-14098               Doc 1        Filed 07/13/06            Page 33 of 41
                                                                                                                             United States Bankruptcy Court
                                                                                                                                   District of Maryland

                                                                     IN RE:                                                                                                       Case No.
                                                                     Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                                                    Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                     stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
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                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 49,036.57 Income from beginning of year to present for Thomas Sale = $9,842.38
                                                                                           Gross income for 2005 = 49,036.57
                                                                                           Gross income for 2004 =
                                                                                 54,123.10 Spouse income from beginning of year to present = $19,275.62
                                                                                           Gross income for 2005 = 52,451.10
                                                                                           Gross income for 2004 =

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                      ü      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                             debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
                                                                             of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)



                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                                        Case 06-14098               Doc 1        Filed 07/13/06            Page 34 of 41
                                                                                                                                                                                                 AMOUNT                AMOUNT
                                                                     NAME AND ADDRESS OF CREDITOR                                     DATES OF PAYMENTS                                              PAID          STILL OWING
                                                                     Citimortgage                                                     6/1/06                                                      1,638.23            150,463.05
                                                                     P.O. Box 9438
                                                                     Gaithersburg, MD 20898-9438
                                                                     Ford Credit                                                      6/1/06                                                        507.00               8,000.00
                                                                     P.O. Box 1630
                                                                     La Plata, MD 20646-1630
                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,000.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                      COURT OR AGENCY                            STATUS OR
                                                                     AND CASE NUMBER                            NATURE OF PROCEEDING                      AND LOCATION                               DISPOSITION
                                                                     Capitol One Bank v. Thomas H.              Debt Collection                           Charles County District Court              Trial date 7/26/06
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                                                                     Sale, Case No.
                                                                     0402-0000453-2006
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.



                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                                        Case 06-14098                Doc 1        Filed 07/13/06            Page 35 of 41
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Law Office Of Raymond Carignan, Chtd                              6/12/06                                                              1,200.00
                                                                     7700 Old Branch Ave, Suite E103
                                                                     Clinton, MD 20735
                                                                     Law Office Of Raymond Carignan, Chtd                              6/30/06                                                                               800.00
                                                                     7700 Old Branch Ave, Suite E103
                                                                     Clinton, MD 20735

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or
                                                                      ü      similar device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
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                                                                             petition is not filed.)

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                             preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                                                                                                                              DATE OF
                                                                                                                                       NAMES AND ADDRESS                                                      TRANSFER OR
                                                                     NAME AND ADDRESS OF BANK                                          OF THOSE WITH ACCESS               DESCRIPTION OF                      SURRENDER, IF
                                                                     OR OTHER DEPOSITORY                                               TO BOX OR DEPOSITORY               CONTENTS                            ANY
                                                                     Maryland Bank And Trust                                                                              paper documents                     1986
                                                                     LaPlata, MD

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.




                                                                     STATEMENT OF FINANCIAL AFFAIRS
                                                                                                        Case 06-14098               Doc 1        Filed 07/13/06            Page 36 of 41
                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
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                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü
                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: July 13, 2006                              Signature /s/ Thomas Hugh Sale, Sr.
                                                                                                                      of Debtor                                                                        Thomas Hugh Sale, Sr.

                                                                     Date: July 13, 2006                              Signature /s/ Darlene Fay Sale
                                                                                                                      of Joint Debtor                                                                         Darlene Fay Sale
                                                                                                                      (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                                                                     United States Bankruptcy Court
                                                                                                                           District of Maryland

                                                                     IN RE:                                                                                  Case No.
                                                                     Sale, Thomas Hugh Sr. & Sale, Darlene Fay                                               Chapter 13
                                                                                                              Debtor(s)

                                                                                                              VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: July 13, 2006                      Signature: /s/ Thomas Hugh Sale, Sr.
                                                                                                                          Thomas Hugh Sale, Sr.                                                  Debtor



                                                                     Date: July 13, 2006                      Signature: /s/ Darlene Fay Sale
                                                                                                                          Darlene Fay Sale                                           Joint Debtor, if any
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                                                                     VERIFICATION OF CREDITOR MATRIX
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 American Online
 C/O C.C.S.
 P.O. Box 55126
 Boston, MA 02205-5126


 Bank Of America
 PO Box 1758
 Newark, NJ 07101


 Bankone
 C/O Liberty Point
 8440 Hardy Drive, Suite 202
 Tempe, AZ 85254


 Barrier Island Station, Inc.
 One Cypress Knee Trail
 Kitty Hawk, NC 27949


 Benita A. Lloyd
 Gray & Lloyd, LLP
 3120 N. Croatan Highway, Suite 101
 Kill Devil Hills, NC 27948


 Capital One
 PO Box 85147
 Richmond, VA     23276


 Capitol One Bank
 C/O Edward J. Hagan, Esq.
 PO Box 1085
 Martinsburg, WV 25402-1085


 Capitol One Services
 PO Box 85015
 Richmond, VA 23285
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 Chase
 PO Box 830016
 Baltimore, MD     21283-0016


 Chase Bank USA NA
 C/O Unifund
 10625 Techwoods Circle
 Cincinatti, OH 45242


 Chase Manhatten Bank
 P. Scott Lowery, PC
 4500 Cherry Creek Drive South, Suite 700
 Denver, CO 80246


 Citibank Sears
 C/O National Enterprise Systems
 29125 Solon Road
 Solon, OH 44139-3442


 Citibank, N.A.
 C/O Hudson & Keyse, LLC
 382 Blackbrook Road
 Painesville, OH 44077


 Citimortgage
 P.O. Box 9438
 Gaithersburg, MD       20898-9438


 Discover Bank
 PO Box 15251
 Wilmington, DE     19886


 Financial Recovery Service
 PO Box 385908
 Minneapolis, MN 55438-5908
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 First Union National Bank
 C/O Risk Management Alternatives
 802 E. Martintown   Suite 201
 North Augusta, GA 29841


 Ford Credit
 P.O. Box 1630
 La Plata, MD 20646-1630


 MBNA America
 PO Box 15027
 Wilmington, DE     19850-5027


 National Enterprise Systems
 29125 Solon Road
 Solon, OH 44139-3442


 OSI Collection Services
 PO Box 922
 Brookfield, WI 53008-0922


 Pegasus Satellite Televsion
 C/O Nationwide Credit Inc
 3602 N. Blackstone Ave, Ste G201
 Fresno, CA 93726-5398


 Risk Management Alternatives
 802 E. Martintown   Suite 201
 North Augusta, GA 29841


 Williamsburg Plantation
 4800 N Scottsdale Rod, MS4W30
 Scottsdale, AZ 85251-7623
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 Wolpoff & Abramson, LLP
 Two Irvington Centre
 702 King Farm Blvd.
 Rockville, MD 20850-5775
